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                                        UNITED STATES DISTRICT COURT
                                            DISTRICT OF NEW JERSEY

                                                      -   -   -   -   X
 UNITED STATES OF AMERICA                                                 Hon. Katharine S. Hayden

                       v.                                                 Crim. No. 03-844-21 (KSH)

 TERRANCE JONES
    a/k/a "Terrance Oliver"                                                ORDER
  -   -   -   -    -    -   -   -   -    -    -   -   -   -   -   -   X


                       This matter having come before the Court on the

 application of TERRANCE JONES r a/k/ a "Terrance Oli verrr                                        (Linwood

 Jonesr Esq. appearing) for bail pending determination of an

 alleg~d          violation of his supervised release; and a Petition for

 violation of supervised release having been filed by Senior U.S.

 Probation Officer Kevin J. Mullens of the U.S. Probation Office

 for a finding that TERRANCE JONES has violated the terms of his

 supervised release; and TERRANCE JONES having been sentenced on

 May 1    1   2007 to 81 months detention and 3 years of supervised

 release for conspiracy to commit assault in aid of racketeering/

 18 u.s.c. § 1959(a) (6) and use of a firearm in furtherance of a

 crime of violence                  1    18 U.S.C.            §   924(c) (1) (A) (1); and TERRANCE

 JONES having served the originally sentenced period of

 incarceration; and supervision having commenced on June 9, 2010;

 and a Hearing on the Violation of Supervised Release (hereinafter

 "VOSR") having been held in abeyance pending the outcome of the

 underlying state charge that precipitated one of the violations
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 art issue; and the United States Attorney's Office (Serina M.

 Vash, Assistant United States Attorney, appearing), and counsel

 for defendant TERRANCE JONES (Linwood Jones, Esq., appearing)

 having appeared on defendant's application for bail pending the

 holding of a Hearing on the VOSR; and

             IT APPEARING that TERRANCE JONES was charged by way of

 a Petition for the Violation of Supervised Release on January 23,

 2012 with the following violations of the terms of his Supervised

 Release:

             Violation Number One: having committed another federal,

 state and/or local crime;

             Violation Number Two: having failed to maintain

 employment;

             Violation Number Three: having possessed and/or used

 illegal drugs;

             Violation Number Four: having failed to submit to

 mandatory drug testing;

             Violation Number Five: having associated with and

 having been in the company of members of the Bloods and other

 street gangs; and

             The Court finding that Mr. Jones's application for bail

 is still premature; and




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             It appearing that a criminal prosecution for the

 alleged drug distribution crime that is underlying Violation One

 is pending in Essex County; and

             It appearing that a suppression motion is pending in

 the underlying state case, which when decided will lend clarity

 to the issues before this Court;

             It is hereby ORDERED that this Court's December 11,

 2012 determination on the record that TERRANCE JONES shall remain

 in custody pending the outcome of his underlying state case and

 the Hearing on the VOSR herein be and is hereby memorialized; and

 it is further

             ORDERED that defendant TERRANCE JONES may come back to

 this Court following a the state court's decision on the motion

 to suppress on short notice and reassert his application for

 bail.

             So Ordered.



 Date:   December~__/_, 2012
                                                 KATHARINE//S.
                                            United States District




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